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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )
                                            )                8:10CR14
                    Plaintiff,              )
                                            )
      vs.                                   )                 ORDER
                                            )
GRACE MORALES and,                          )
EDUARDO MORALES-NUNEZ,                      )
                                            )
                    Defendants.             )



      This matter is before the court on the motion to continue by defendant Grace

Morales (Morales) (Filing No. 26). Morales seeks a continuance of the trial scheduled for

April 12, 2010. Morales has submitted an affidavit in accordance with paragraph 9 of the

progression order whereby Morales consents to the motion and acknowledges she

understands the additional time may be excludable time for the purposes of the Speedy

Trial Act (Filing No. 26). Morales's counsel represents that government's counsel has no

objection to the motion. Upon consideration, the motion will be granted and trial will be

continued as to both defendants.



      IT IS ORDERED:

      1.     Morales's motion to continue trial (Filing No. 26) is granted.

      2.     Trial of this matter is re-scheduled for July 6, 2010, before Chief Judge

Joseph F. Bataillon and a jury. The ends of justice have been served by granting such

motion and outweigh the interests of the public and the defendant in a speedy trial. The

additional time arising as a result of the granting of the motion, i.e., the time between

March 30, 2010, and July 6, 2010, shall be deemed excludable time in any computation

of time under the requirement of the Speedy Trial Act for the reason that defendant's
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counsel requires additional time to adequately prepare the case. The failure to grant

additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

      DATED this 30th day of March, 2010.

                                                 BY THE COURT:

                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge




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